91 F.3d 157
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.William J. RIGGS, Defendant-Appellant.
    No. 95-36159.
    United States Court of Appeals, Ninth Circuit.
    Submitted July 9, 1996.*Decided July 15, 1996.
    
      Before:  HUG, Chief Judge, SCHROEDER and POOLE, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      William James Riggs, a federal prisoner, appeals pro se the district court's denial of his 28 U.S.C. § 2255 motion to vacate his sentence for importation of a listed chemical knowing it would be used to manufacture methamphetamine.  Riggs contends that the Double Jeopardy Clause barred his conviction due to the prior civil forfeiture of $1726.67 in currency.  This contention is precluded by the United States Supreme Court's decision in United States v. Ursery, No. 95-345, 1996 WL 340815 (U.S. June 24, 1996).
    
    
      3
      AFFIRMED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    